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VIRGINIA: g 22 5
IN THE CIRCUIT COURT OF THE CITY OF DANVILLE aon 3 +
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RAYMOND E. BERRING ) S29 2 OG
Plaintiff ) OG5 |
) Zam
v. } a ‘oo
) COMPLAINT
HERITAGE TOWERS APARTMENTS LLC)
c/o Glenda McDarmont ) CL17-_19.30
Registered Agent )
231 South Ridge Street )
Danville, VA 24541 )
Defendant )

O THE HONORABLE JUDGE OF SAID COURT:

Comes now the plaintiff, Raymond E. Herring, and moves the Court for judgment against the
defendant, Heritage Towers Apartments LLC, on the grounds and in the amount as hereinafter set forth:

1. Defendant is a Virginia LLC doing business in the city of Danville, Virginia, under the
name of Heritage Towers Apartments LLC at 231 South Ridge Street in the city of Danville, Virginia.

2. " Defendant operates an apartment complex in which the plaintiff is a resident.

3, Defendant occupies and controls the premises located at the above address in which its
apartments are located,

4. Defendant, at all times relevant, was under a duty to keep its premises in a safe and
sound condition, to warn of any hazards not visible or otherwise known to the public and, in general, so
maintain its premises as not to cause a danger to members of the public, and, in particular, the plaintiff
entering as a business invites,

5, On July 5, 2016, plaintiff was assisting another resident, Kathleen Tony, holding the door
for her to go through in her wheel chair and the mat buckled causing his legs to cross and then his left leg
turned up under his right leg and he couldn’t move. He called for help and Linda Ayers was behind him

and pulled his leg out from under him and helped him to get up. She stated that she had seen these mats

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DANVILLE, VIRGINIA 24541-1213 ae

 
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buckle before and she has tripped on them before but did not fall.

6. Not withstanding its duties, and in negligent breech thereof, the defendant permitted its
premises to be in unsafe and unfit condition for the entrance of the plaintiff, and other members of the public
and failed to wam the plaintiff of hidden and unseen hazards on the premises.

7. Asa direct and proximate result of defendant's negligence, plaintiff fell and was severely
injured.

§. Asadirect and proximate result thereof, plaintiff sustained serious and permanent
injuries, has been prevented from transacting his business, has suffered and will continue to suffer great pain
of body and mind; has sustained permanent disability, deformity and loss of earning capacity; and has
incurred and will incur in the future hospital, doctors’ and related bills in an effort to be cured of said
injuries. — .

For the foregoing reasons, plaintiff moves the court for judgment against the defendant in the
amount of $150,000, together with interest at the judgment rate from July 5, 2016 and for his costs incurred.
Plaintiff demands a jury trial.
RAYMOND E. HERRING
By Counsel
Counsel:
WILLIAMS, MORRISON,
LIGHT AND MOREAU
317 Patton Street

Danville, Virginia 24541
(434) 793-4912

‘ Tow
Mark T. Williams (VSB# 29319)
John P. Light (VSB# 65216)
Ronald W. Williams (VSB# 03945)
Robert L. Morrison, Jr. (VSB# 14922)

By

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